              Case 2:17-cr-00064-JAM Document 165 Filed 04/02/19 Page 1 of 2


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 AMANDA BECK
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:17-CR-064 JAM
12                                Plaintiff,              STIPULATION REGARDING CONTINUING
                                                          BRIEFING AND HEARING SHCEDULE FOR
13                         v.                             DEFENDANTS’ MOTION TO SUPPRESS
14   GARY ROBERTS,                                        DATE: April 2, 2019
                                                          TIME: 9:15 a.m.
15                               Defendant.               COURT: Hon. John A. Mendez
16

17                                             STIPULATION

18          1.     Defendant Gary Roberts filed a motion to suppress on March 5, 2019. Dkt. #156. In it,

19 the defense requested a hearing date of April 2, 2019.

20          2.     The court has not ordered a hearing.

21          3.     By this stipulation, the parties now move that:

22                 a)      The government’s motion response will be due on April 30, 2019;

23                 b)      The defense reply, if any, will be due on May 7, 2019;

24                 c)      The government surreply, if any, will be due on May 14, 2019; and

25                 d)      The suppression hearing, if any, will be on May 21, 2019 at 9:15 a.m.

26          4.     This briefing and hearing schedule will allow the parties to conduct necessary legal and

27 factual research. In particular, because the defense filed the motion without notifying the government in

28 advance or consulting the government about a subsequent briefing schedule prior for to filing, the parties

      STIPULATION REGARDING EXCLUDABLE TIME               1
      PERIODS UNDER SPEEDY TRIAL ACT
             Case 2:17-cr-00064-JAM Document 165 Filed 04/02/19 Page 2 of 2


 1 have agreed to this extension so that the government may conduct the necessary research and drafting.

 2 The additional time will also allow the defense, in turn, to respond to the government’s argument.

 3          5.     Defendant Gary Roberts is out of custody. Dkt. #67.

 4          6.     The parties’ next status conference is scheduled for April 23, 2019. Dkt. #155.

 5          IT IS SO STIPULATED.

 6

 7
     Dated: April 1, 2019                                  MCGREGOR W. SCOTT
 8                                                         United States Attorney
 9                                                         /s/ AMANDA BECK
                                                           AMANDA BECK
10                                                         Assistant United States Attorney
11

12   Dated: April 1, 2019                                  /s/ ETAN ZAITSU
                                                           ETAN ZAITSU
13                                                         Counsel for Defendant
                                                           GARY ROBERTS
14

15
                                          FINDINGS AND ORDER
16
            IT IS SO FOUND AND ORDERED this 1st day of April, 2019.
17

18                                                      /s/ John A. Mendez
                                                     THE HONORABLE JOHN A. MENDEZ
19                                                   UNITED STATES DISTRICT COURT JUDGE
20

21

22

23

24

25

26

27

28

      STIPULATION REGARDING EXCLUDABLE TIME            2
      PERIODS UNDER SPEEDY TRIAL ACT
